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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

ADAM BONAREK,

             Plaintiff,                              Case No. 2:17-cv-10070
                                                     Hon. Bernard A. Friedman
v.                                                   Mag. Stephanie Dawkins Davis

AMERICAN EXPRESS,
EXPERIAN INFORMATION SOLUTIONS, INC.
TRANS UNION, LLC and
EQUIFAX INFORMATION SERVICES, LLC,

          Defendants.
__________________________________________________________________

              STIPULATION AND ORDER TO DISMISS
     DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC., ONLY,
                       WITH PREJUDICE

       Plaintiff and Defendant Experian Information Solutions, Inc. (“Experian”),

through their respective counsel, stipulate to the dismissal of Defendant Experian,

only, with prejudice and without costs or attorney fees to either party.



  /s/ John R. Badeen (by consent)                    /s/ Tamara E. Fraser
John R. Badeen (P71014)                       Tamara E. Fraser (P51997)
Attorney for Plaintiff                        Attorney for Defendant Experian
Xuereb Law Group PC                           Williams, Williams, Rattner
(734) 455-2000                                 & Plunkett, P.C.
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                   ORDER TO DISMISS
  DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC., ONLY,
                    WITH PREJUDICE

      The Court having received the parties’ Stipulation, and being otherwise fully

advised in the premises,

      IT IS HEREBY ORDERED that Defendant Experian Information Solutions,

Inc., only, shall be dismissed with prejudice and without costs or attorney fees

awarded to either party.

      This resolves the last pending claim and closes this case.


Dated: April 17, 2017

                                      s/ Bernard A. Friedman_________
                                      Honorable Bernard A. Friedman
                                      U.S. District Court Judge




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